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                                           July 20, 2023
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Mark Langer
Clerk of the U.S. Court of Appeals
District of Columbia Circuit
E. Barrett Prettyman Courthouse
333 Constitution Ave NW
Washington, DC 200001

       Re:     Blassingame v. Trump, No. 22-5069 (consolidated with Nos. 22-7030, 22-7031)

Dear Mr. Langer:

       We write in response to Appellant Trump’s July 17, 2023 letter.

        Counterman is irrelevant here for multiple reasons. First, the principles reflected in
Nixon v. Fitzgerald and separation-of-powers doctrine—not the scope of the First Amendment—
dictate affirmance of the district court’s decision rejecting absolute immunity. See
Appellees.Suppl.Br.2-7.

        Second, even accepting that the scope of the First Amendment is a guide to assessing
immunity, it is a guide only by “analog[y].” U.S.Suppl.Br.17; see id. at 19 (similar). The view
of the United States is that no immunity exists where the President’s “speech encouraged
imminent private violent action and was likely to produce such action.” Id. at 2. Counterman’s
discussion of the nitty-gritty details of First Amendment doctrine does not dictate the exact
contours of a test for presidential immunity, let alone say anything about the Supreme Court’s
views on that topic.

        Third, Counterman does not alter the First Amendment standard for incitement.
Counterman involved true threats, not incitement, and discussed existing incitement authorities
only to support the conclusion that liability for true threats must involve some mens rea
requirement. See 143 S. Ct. at 2117 (stating that the standard for incitement “presumably
requires purpose or knowledge” (emphasis added)). The Court’s only holding is that the mens
rea required for true-threats liability is recklessness, see id. at 2111-12—a holding that has no
bearing on this case.

       Finally, even if the “purpose or knowledge” standard for incitement discussed in
Counterman were relevant here, the district court has already correctly determined that the
complaints’ allegations satisfy that standard. Counterman makes clear that “knowledge” includes
“aware[ness] that [a] result is practically certain to follow.” 143 S. Ct. at 2117. The district court
explained that it was “reasonable to infer that [Trump] would have known that some in the
audience were prepared for violence” and that he “would have known that some supporters
viewed” his words “as a call to action.” Thompson v. Trump, 590 F. Supp. 3d 46, 115-17 (D.D.C.
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2022); see U.S.Suppl.Br.20. That is more than sufficient to demonstrate “purpose or knowledge”
to “produce imminent disorder.” 143 S. Ct. at 2115, 2118.



                                                Sincerely,

                                                /s/ Donald B. Verrilli, Jr.

                                                Donald B. Verrilli, Jr.

DBV
